           Case 1:21-cr-00175-TJK Document 690 Filed 03/12/23 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       No. 1:21-cr-175 (TJK)
          v.                                 :
                                             :
ETHAN NORDEAN, et. al.                       :
                                             :
                       Defendants.           :

                    GOVERNMENT’S NOTICE OF CORRECTED BRIEF

       The United States of America respectfully files this notice of a corrected brief. After filing,

the government realized that its response to Nordean’s notice of argument in support of impeachment

of witness with hidden Jencks-related communications, ECF 687, had typographical errors on page

14 and 17. A corrected brief is attached hereto as Exhibit 1, and the original Exhibit A to that brief

is attached hereto as Exhibit A.

                                             Respectfully Submitted,

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